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                        UNITED STATES DISTRICT COURT FOR
                         WESTERN DISTRICT OF WISCONSIN


CHRISTY J. MATHIS, et al.,

               Plaintiffs,                Case No.: 3:22-cv-47

          v.

BRIAN BRZEZINSKI, et al.,

               Defendants


                             CERTIFICATE OF SERVICE



      I, Paul M. Secunda, hereby certify that a copy of Plaintiffs’ Motion

for Approval of Fees and Costs , ECF No. 129, and all related materials,

ECF Nos. 130-134, were sent to the following individuals via U.S. Mail

on October 20, 2022:

      Brian Brzezinski, 1835 Grant Road, Kronenwetter, WI 54455

      Julie Brzezinski, 1835 Grant Road, Kronenwetter, WI 54455

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Dated this 20th day of October, 2023       WALCHESKE & LUZI, LLC
                                           Counsel for Plaintiff

                                           s/ Paul M. Secunda

                                           Paul M. Secunda, State Bar No. 1074127



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